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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  In re:                                       §
                                               §
  GALLERIA 2425 Owner, LLC                               Case No. 23-34815 (JPN)
                                               §
                                               §         Chapter 11
                 Debtor.                       §
                                               §


             SUPPLEMENTAL WITNESS AND EXHIBIT LIST FOR DECEMBER 5, 2024
                             EMERGENCY HEARING


       Jetall Companies, Inc. and 2425 WL, LLC file this Supplemental Witness and Exhibit List

 for the emergency hearing to be held December 5, 2024 at 9:00 a.m. (prevailing Central Time)

 (the “Hearing”) on (1) NBK’s (Renewed) Emergency Motion to Enforce Sale Order (Jetall

 Companies, Inc.) (ECF No. 838) and (2) NBK’s Second Emergency Motion to Enforce Sale

 Order (2425 WL, LLC) (ECF No. 839).

                                SUPPLEMENTAL WITNESSES

       In addition to the Exhibits and Witnesses listed in their initial Witness and Exhibit List

(Dkt. No. 847) Jetall Companies, Inc. and 2425 WL, LLC may call the following witnesses at the

Hearing:

       1.      Marc Hill

       2.      Charles C. Contrad.

       Jetall Companies, Inc. and 2425 WL, LLC also designate the following supplemental

exhibits for the Hearing:



  Exhibit                    Description                    Offer Object Admit Disposition

   Supp. 1 Plaintiff’s Emergency Motion for
           Clarification of Order of Disqualification,
           Cause No. 241100353166
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 Supp. 2 Plaintiff Houston 2425 Galleria, LLC’s
         Emergency Motion for Hearing on Its
         Emergency Motion for Clarification of
         Order of Disqualification, Cause No.
         241100353166

 Supp. 3 Amended Order of Disqualification in Case
         No. 241100353166

 Supp. 4 Correspondence dated December 4, 2024


                                   RESERVATION OF RIGHTS

       Jetall Companies, Inc. reserves the right to call or to introduce one or more, or none, of the

witnesses and exhibits listed above, and further reserve the right to supplement this Witness and

Exhibit List before the Hearing.

DATED: December 4, 2024                    Respectfully submitted,
                                           /s/ J. Carl Cecere
                                           J. Carl Cecere
                                           Texas Bar No. 24050397
                                           (admitted pro hac vice)
                                           CECERE PC
                                           6035 McCommas Blvd.
                                           Dallas, Texas 75206
                                           Tel: 469-600-9455
                                           ccecere@cecerepc.com




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                            CERTIFICATE OF SERVICE

       The undersigned certifies that on December 4, 2024, a true and correct copy of
the foregoing was served via the Court’s CM/ECF system to all parties who are deemed
to have consented to ECF electronic service, and via email to those listed below..

Charles C. Conrad
Ryan Steinbrunner
Pillsbury Winthrop Shaw Pittman LLC
Main Street Suite 2000
Houston, TX 77002
charles.conrad@pillsburylaw.com
ryan.steinbrunner@pillsburylaw.com -

Andrew M. Troop
Patrick E. Fitzmaurice
Kwame O. Akuffo
Pillsbury Winthrop Shaw Pittman LLC
31 West 52nd Street New York, NY
10019-6131 Telephone: (212) 858-
1000 Facsimile: (212) 858-1500
andrew.troop@pillsburylaw.com
patrick.fitzmaurice@pillsburylaw.com
kwame.akuffo@pillsburylaw.com



                                         /s/ J. Carl Cecere
                                         J. Carl Cecere




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